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AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF ILLINOIS



                                                                       SUMMONS IN A CIVIL CASE
ART AKIANE LLC


                                                             CASE NUMBER:          19-cv-02952
                                V.                           ASSIGNED JUDGE:
                                                                                   Edmond E. Chang
 ART & SOULWORKS LLC, CAROL
 CORNELIUSON, AND CARPENTREE, INC.                           DESIGNATED
                                                             MAGISTRATE JUDGE: Jeffrey Cole


               TO: (Name and address of Defendant)
       Carpentree, Inc.
       9410 East 54th Street
       Tulsa, OK 74145




          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)
                 Adam Wolek
                 Taft Stettinius & Hollister LLP
                 111 E Wacker Drive, Suite 2800
                 Chicago, IL 60601



                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                    August 23, 2019
     (By) DEPUTY CLERK                                                              DATE
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AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)
NAME OF SERVER (PRINT)                                                                  TITLE


   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




          G Other (specify):




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                      TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on
                                        Date                    Signature of Server




                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
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